            Case 4:19-cv-00408-ACA Document 1 Filed 03/07/19 Page 1 of 4                            FILED
                                                                                           2019 Mar-08 AM 11:52
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                                MIDDLE DIVISION

BRIAN K. CROWSON,                            )
                                             )
               Plaintiff                     )
                                             )     Civil Action No. _________________
v.                                           )
                                             )     Removal of
ASURION SHORT TERM                           )     Circuit Court of Etowah County
DISABILITY PLAN,                             )     Case No. 31-CV-2019-900020.00
                                             )
               Defendant                     )

                                   NOTICE OF REMOVAL

       Defendant Asurion, LLC Short Term Disability Insurance Plan (“Defendant” or “Plan”),

incorrectly named as Asurion Short Term Disability Plan in the above-referenced action, timely

files this Notice of Removal as follows.

       In accordance with 28. U.S.C. §§ 1331, 1441, and 1446, Defendant, by and through its

undersigned counsel, hereby removes to this Court the action Brian K. Crowson v. Asurion Short

Term Disability Plan, pending in the Circuit Court of Etowah County, Alabama, 31-CV-2019-

900020.00 (“State Court Action”). In support of this Notice of Removal, Defendant would

respectfully show the Court the following:

       1.      On January 9, 2019, Plaintiff commenced the State Court Action in the Circuit

Court of Etowah County, Alabama. Defendant was served with the Plaintiff’s Complaint on

February 5, 2019. As required by 28 U.S.C. § 1446(a), a true and correct copy of all documents,

including all process, pleadings and orders serviced on Defendant are attached hereto as Exhibit

A. This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b), having been filed

within 30 days from the date on which Defendant received the Complaint.
             Case 4:19-cv-00408-ACA Document 1 Filed 03/07/19 Page 2 of 4



        2.      The Asurion, LLC Short Term Disability Insurance Plan is sponsored by Asurion,

LLC. The Plan is a fully-insured employee welfare benefit plan within the meaning of 29 U.S.C.

§ 1002(1).

        3.      Plaintiff alleges in his Complaint that he applied for, and was denied, short term

disability benefits under the Plan. Plaintiff’s sole cause of action is for recovery of his alleged short

term disability benefits.

        4.      This Court has original jurisdiction over the claims asserted in Plaintiff’s Complaint

pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 1132(f) because this case arises under the laws of

the United States of America, specifically, the Employee Retirement Income Security Act

(“ERISA”), as amended, 29 U.S.C. § 1011, et seq. The Plan is governed by ERISA.

        5.      ERISA provides the exclusive remedies for actions under an ERISA-regulated plan.

        6.      This action is properly removable to this Court pursuant to 28 U.S.C. § 1441(a)

because Plaintiff’s claims involve exclusive federal remedies available to participants under

ERISA plans pursuant to 29 U.S.C. § 1132(a). An action involving a claim for benefits under an

ERISA plan is removable under 28 U.S.C. § 1441(a) as an action arising under federal law even

when the ERISA-related nature of the action does not appear on the face of the complaint. See

Metropolitan Life Insurance Co. v. Taylor, 481 U.S. 58, 62-63 (1987).

        7.      Venue of the removed action is proper in this Court as it is the district and division

embracing the place where the State Court Action is pending in Etowah County, Alabama. See 28

U.S.C. §§ 118(b) and 1446(a).

        8.      Defendant is the only defendant in this action, and, as such, no consent to remove

this action is required.




                                                   2
            Case 4:19-cv-00408-ACA Document 1 Filed 03/07/19 Page 3 of 4



       9.      A true copy of this notice of removal is today being served upon all parties and will

be promptly filed with the Clerk of the Circuit Court of Etowah County, Alabama, as required by

28 U.S.C. § 1446(d). A copy of said Notice of Filing Notice of Removal is attached hereto as

Exhibit B. (without duplicative attachments).

       10.     By removing this action, Defendant does not waive any defense available to it in

federal or state court and expressly reserves the right to assert all such defenses in its responsive

pleading.

       WHEREFORE, this case is hereby removed from the Circuit Court of Etowah County,

Alabama to the United States District Court for the Northern District of Alabama, Middle Division.

       Respectfully submitted this 7th day of March, 2019.

                                              /s/ Deborah B. Hembree
                                              DEBORAH B. HEMBREE
                                              ASB: 7417-B53D


CONSTANGY, BROOKS, SMITH
& PROPHETE, LLP
Two Chase Corporate Drive, Suite 120
Birmingham, AL 35244
(205) 226-5465
(205) 323-7674 (facsimile)
dhembree@constangy.com




                                                 3
             Case 4:19-cv-00408-ACA Document 1 Filed 03/07/19 Page 4 of 4



                                     CERTIFICATE OF SERVICE

       I hereby certify that on this date that the following have been served a copy of the

foregoing NOTICE OF REMOVAL by placing the same in the U.S. mail, postage prepaid and

properly addressed; and/or, if the party being service is a registered participant in the ECF

system of the United States District Court for the Northern District of Alabama, I electronically

filed the foregoing NOTICE OF REMOVAL with the Clerk of the Court using the CM/ECF

system which will automatically send email notification of such filing to the following attorneys

of record:

       Myron K. Allenstein
       Rose Marie Allenstein
       Allenstein & Allenstein, LLC
       141 South 9th Street
       Gadsden, AL 35902

       Dated this 7th day of March, 2019.



                                              /s/ Deborah B. Hembree
                                              DEBORAH B. HEMBREE


CONSTANGY, BROOKS, SMITH
& PROPHETE, LLP
Two Chase Corporate Drive, Suite 120
Birmingham, AL 35244
(205) 226-5465
(205) 323-7674 (facsimile)
dhembree@constangy.com




                                                 4
